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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA


    DISTRICT OF COLUMBIA,

                                 Plaintiff,

                 v.

    EXXON MOBIL CORP., EXXONMOBIL                           Civil Action No. 1:20-cv-01932-TJK
    OIL CORPORATION, ROYAL DUTCH
    SHELL PLC, SHELL OIL COMPANY, BP
    P.L.C., BP AMERICA INC., CHEVRON
    CORPORATION, CHEVRON U.S.A. INC.,

                                 Defendants.


                        DEFENDANTS’ RESPONSE TO PLAINTIFF’S
                        NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendants write in response to Plaintiff’s Notice of Supplemental Authority (ECF No.

112), regarding the Third Circuit’s decision in City of Hoboken v. Chevron Corporation, 2022 WL

3440653 (3d Cir. Aug. 17, 2022) (“Hoboken”).1 The D.C. Circuit has not yet addressed the issues

relevant to the pending motion to remand in this case, and the Third Circuit’s reasoning in Hoboken

is not persuasive for several reasons, including those explained below.

         First, the Third Circuit did not address whether the defendants’ claims there actually arose

under federal common law. Rather, it treated the defendants’ invocation of federal common law

as an ordinary-preemption defense that could not support removal under the well-pleaded

complaint rule. Hoboken, 2022 WL 3440653, at *3. Here, however, Defendants do not invoke

federal common law as a defense; they contend that Plaintiff ’s nominally state-law claims to abate




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     By filing this response, Defendants do not waive any right, defense, affirmative defense, or
     objection, including any challenges to personal jurisdiction over Defendants.
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fossil fuel emissions necessarily and exclusively arise under the federal common law of

transboundary pollution. Given this unique federal interest, it would be inappropriate for state or

municipal law to control. See City of New York v. Chevron Corp., 993 F.3d 81, 98–99 (2d Cir.

2021).

         The Third Circuit also ruled that statutory complete preemption provides the only doctrinal

basis to remove federal common law claims dressed in state-law garb. Hoboken, 2022 WL

3440653, at *2–3. But the Supreme Court has never so held, and distinguishing between statutory

claims and claims necessarily and exclusively governed by federal common law would lead to

bizarre results.2 Because the latter claims would proceed in state court, state judges would develop

the substantive content of federal common law, subject only to review by the Supreme Court.

Through artful pleading and venue selection, plaintiffs could prevent the federal judiciary from

developing federal common law in areas implicating uniquely federal interests—even in areas

where, as here, the Supreme Court has already held that federal common law, and not state law,

must apply. See, e.g., Illinois v. City of Milwaukee, 406 U.S. 91, 103 (1972) (“When we deal with

air and water in their ambient or interstate aspects, there is a federal common law[.]”).

         Second, the Third Circuit’s analysis of Grable jurisdiction is similarly flawed because it

rests on the same fiction that federal common law supplies only an ordinary-preemption defense.

Hoboken, 2022 WL 3440653, at *3–4. Because “federal common law alone governs” Plaintiff’s




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    See Richard H. Fallon, Jr., et al., Hart & Wechsler’s Federal Courts and the Federal System
    819 (7th ed. 2015) (explaining there is “[n]o plausible reason” why “the appropriateness of and
    need for a federal forum should turn on whether the claim arose under a federal statute or under
    federal common law”).

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claims, resolving those claims necessarily requires the resolution of substantial federal questions.

Battle v. Seibels Bruce Ins. Co., 288 F.3d 596, 607 (4th Cir. 2002) (emphasis in original).

       Third, the Third Circuit correctly recognized that the Outer Continental Shelf Lands Act

does not require a causal connection between a defendant’s operations on the Outer Continental

Shelf (“OCS”) and a plaintiff’s claims. Hoboken, 2022 WL 3440653, at *4–5. But in holding that

the requisite connection between the claims and conduct on the OCS was lacking, the court

suggested that the plaintiffs’ claims focused on fossil fuel combustion “hundreds or thousands of

miles away” from the OCS. Id. at *6. That was error especially where, as here, Plaintiff takes

issue with Defendants’ conduct that leads to emissions, which necessarily includes exploration and

production activities on the OCS.

       Fourth, the Third Circuit’s holding under the federal officer removal statute is erroneous

for the reasons explained in Defendants’ opposition to Plaintiff’s motion to remand. See ECF No.

51 at 33–47. Moreover, the Third Circuit’s holding rested in large part on the fact that the plaintiffs

purportedly disclaimed injuries based on sales of fuels to the federal government, which Plaintiff

here does not, and cannot, do.

       Finally, unlike here, Hoboken did not involve removal based on diversity jurisdiction or

the Class Action Fairness Act. The Third Circuit’s decision, therefore, has no bearing on those

independent bases for removal.




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DATED: September 2, 2022

Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that, on September 2, 2022, I caused the foregoing Response to Plaintiff’s

Notice of Supplemental Authority to be electronically filed using the Court’s CM/ECF system,

and service was effected electronically pursuant to Local Rule 5.3 to all counsel of record.


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